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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOHN CURTIS RICE,

                                Plaintiff,                    Docket No. 1:19-cv-00447

        - against -                                           JURY TRIAL DEMANDED

 NBCUNIVERSAL MEDIA, LLC

                                Defendant.


                                         COMPLAINT

       Plaintiff John Curtis Rice (“Rice” or “Plaintiff”) by and through his undersigned counsel,

as and for his Complaint against Defendant NBCUniversal Media, LLC (“NBC” or “Defendant”)

hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of a raccoon that broke into a Bronx beauty shop, owned and registered

by Rice, a New York based professional photographer. Accordingly, Rice seeks monetary relief

under the Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.      Rice is a professional photographer in the business of licensing his photographs to

online and print media for a fee having a usual place of business at 777 Kappock Street, Bronx,

New York 10463.

       6.      Upon information and belief, NBC is a foreign limited liability company duly

organized and existing under the laws of the State of New York, with a place of business at 30

Rockefeller Plaza, New York, New York 10112. Upon information and belief NBC is registered

with the New York Department of State Division of Corporations to do business in the State of

New York. At all times material, hereto, NBC has owned and operated a website at the URL:

www.Today.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Rice photographed a raccoon that broke into a Bronx beauty shop (the

“Photograph”). A true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Rice is the author of the Photograph and has at all times been the sole owner of all

right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-099-963.

       B.      Defendant’s Infringing Activities

       10.     NBC ran an article on the Website entitled Best picture ever? Raccoon tries to

outrun NYPD. See: https://www.today.com/pets/nypd-chases-raccoon-bronx-beauty-store-

2D80165454. The article featured the Photograph. Screenshots of the Photograph on the article

are attached hereto as Exhibit B.
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          11.     NBC did not license the Photograph from Plaintiff for its article, nor did NBC

have Plaintiff’s permission or consent to publish the Photograph on its Website.

                                 CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

          12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.     NBC infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. NBC is not, and has never been, licensed or

otherwise authorized to reproduce, publically display, distribute and/or use the Photograph.

          14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.     Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment as follows:

          1.      That Defendant NBC be adjudged to have infringed upon Plaintiff’s copyrights in

                  the Photograph in violation of 17 U.S.C §§ 106 and 501;
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       2.      That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

               gains or advantages of any kind attributable to Defendant’s infringement of

               Plaintiff’s Photograph;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded punitive damages for copyright infringement;

       5.      That Plaintiff be awarded attorney’s fees and costs;

       6.      That Plaintiff be awarded pre-judgment interest; and

       7.      Such other and further relief as the Court may deem just and proper.


                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       January 16, 2019
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